
The following order has been entered on the motion filed on the 17th of October 2018 by Plaintiff for Temporary Stay:
"Motion Dissolved by order of the Court in conference, this the 30th of January 2019."
Upon consideration of the petition filed by Plaintiff on the 17th of October 2018 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 30th of January 2019."
Upon consideration of the petition filed on the 17th of October 2018 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 30th of January 2019."
